                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
                            MILWAUKEE DIVISION
______________________________________________________________________________

WISCONSIN GAS LLC,

                              Plaintiff,

                v.                                          Case No. 2:20-cv-1334

AMERICAN NATURAL RESOURCES
COMPANY and HONEYWELL
INTERNATIONAL, INC.,

                        Defendants.
______________________________________________________________________________

                        JOINT PROPOSED SCHEDULE
______________________________________________________________________________

       Plaintiff Wisconsin Gas LLC (“Wisconsin Gas”) and Defendants American Natural

Resources Company (“ANR”) and Honeywell International, Inc. (“Honeywell”) (together, the

“Parties”), by and through their respective undersigned counsel, hereby provide the following

status report to the Court and submit the joint proposed schedule pursuant to the Court’s July 15,

2021 Order (ECF No. 24):

       1.       Wisconsin Gas and ANR previously submitted a Joint Rule 26(f) Report and

Discovery Plan (ECF. No 14) and the Court thereafter entered a Scheduling Order (ECF No. 16).

Wisconsin Gas filed an unopposed motion to amend the scheduling order on July 14, 2021 (ECF

No. 23), which this Court granted on July 15, 2021 (ECF No. 24).

       2.       On August 27, 2021, Wisconsin Gas filed its Amended Complaint (ECF No. 25),

which added Honeywell as a defendant to this litigation.

       3.       ANR answered the Amended Complaint on September 10, 2021 (ECF No. 29).




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       4.       Honeywell waived service of summons (ECF No. 27). Honeywell’s responsive

pleading or motion is due to be filed on October 26, 2021.

       5.       Counsel for the Parties met and conferred on October 1, 2021, and propose the

following further discovery schedule based on the assumption that Honeywell will answer the

Amended Complaint by October 26, 2021:

       a.       The parties shall serve their initial disclosures on the other parties by November 9,

                2021.

       b.       The parties shall continue with written fact discovery and will confer and submit a

                further joint proposed schedule no later than May 1, 2022 to address the remainder

                of fact discovery and other scheduling matters.

       c.       Deposition discovery will be deferred until after the completion of written fact

                discovery.

Honeywell reserves the right to respond by motion to the Amended Complaint, and will confer

with the other Parties to modify the case schedule should it exercise that right.

       Wherefore, the Parties request that the Court enter the foregoing proposed joint schedule.

                                              Respectfully submitted,

Dated: October 5, 2021                        /s/ Joseph A. Cancila
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 5, 2021 I electronically transmitted the foregoing to the

Clerk’s Office using the CM/ECF System, which will send notice of the filing to counsel for all

parties having appeared of record.

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